Case 23-12334-pmm         Doc 27     Filed 01/31/24 Entered 01/31/24 09:05:51               Desc Main
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                        UNITED STATES BANKRUPTCY COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA
                              PHILADELPHIA DIVISION

 In re:
                                                              Bankruptcy No. 23-12334-pmm
 Jorge R Rosario
           Debtor                                             Chapter 13

 Ipatia C Bueno                                               Hearing Date: February 28, 2024
          Joint Debtor                                        Hearing Time: 1:00 P.M.
                                                              Location:
 WILMINGTON SAVINGS FUND SOCIETY, FSB,
                                                              Robert N.C. Nix Sr. Federal
 D/B/A CHRISTIANA TRUST, NOT INDIVIDUALLY
                                                              Courthouse 900 Market Street, Suite
 BUT AS TRUSTEE FOR PRETIUM MORTGAGE                          204 Philadelphia, PA 19107
 ACQUISITION TRUST
      Movant
 v.
 Jorge R Rosario
           Debtor
 Ipatia C Bueno
          Joint Debtor
 KENNETH E. WEST, Esquire
          Trustee/Respondent

      NOTICE OF MOTION, RESPONSE DEADLINE AND HEARING DATE
          WILMINGTON SAVINGS FUND SOCIETY, FSB, D/B/A CHRISTIANA
 TRUST, NOT INDIVIDUALLY BUT AS TRUSTEE FOR PRETIUM MORTGAGE
 ACQUISITION TRUST has filed a Motion for Relief from the Automatic Stay pursuant to
 11 U.S.C. §362(d)(1); for costs and disbursements of this action, and for such other and further
 relief as to the Court may deem just and proper.

          Your rights may be affected. You should read these papers carefully and discuss
          them with your attorney, if you have one in this bankruptcy case. (If you do not
          have an attorney, you may wish to consult an attorney.)


          1. If you do not want the court to grant the relief sought in the Motion or if you
             want the court to consider your views on the motion, then on or before February
             15, 2024, you or your attorney must filed a response to the Motion. (see
             Instructions on next page).

                (a) File an answer explaining your position at:: Robert N.C. Nix Sr. Federal Courthouse
                    900 Market Street, Suite 204, Philadelphia, PA 19107
                                                                                            23-12334-pmm
                                                                                                21-114094
                                                                                                     MFR
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      If you mail your answer to the bankruptcy clerk’s office for filing, you must mail it early
      enough that it will be received on or before the dates stated above; and

             (b) Mail a copy to the movant’s attorney:

                   Michelle L. McGowan, Esquire
                   13010 Morris Rd., Suite 450
                   Alpharetta, GA 30004
                   Telephone: 470-321-7112
                   Email: mimcgowan@raslg.com

      2. If you or your attorney do not take the steps described in paragraphs 1(a) and 1(b)
         above and attend the hearing, the court may enter an order granting the relief
         requested in the motion.

      3. A hearing on the Motion is scheduled to be held before Patricia M. Mayer on
         February 28, 2024, at 1:00 P.M. in Courtroom 1, United States Bankruptcy Court,
         900 Market Street, Suite 204, Philadelphia, PA 19107. Unless the court orders otherwise,
         the hearing on this contested matter will be an evidentiary hearing.

      4. If a copy of the motion is not enclosed, a copy of the motion will be provided to you if
         you request a copy from the attorney named in paragraph 1(b).

      5. You may contact the Bankruptcy Clerk’s Office in Philadelphia at 215-408-2800 or
         Reading at 610-208-5040 to find out whether the hearing has been canceled because
         no one filed a response.




Dated: 1/31/2024

                                    Robertson, Anschutz, Schneid, Crane
                                    & Partners, PLLC
                                    Attorney for Secured Creditor
                                    13010 Morris Rd., Suite 450
                                    Alpharetta, GA 30004
                                    Telephone: 470-321-7112
                                    By: /s/ Michelle L. McGowan
                                    Michelle L. McGowan
                                    PA Bar Number 62414
                                    Email: mimcgowan@raslg.com




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